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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

ORTGRYAL

CASE SUMMARY

 

Case Number CR 07- U7 = Ot 0 | 8

U.S.A. v. Lashawn Andrea Lynch
Indictment OC Information

OFFENSE/VENUE
a. Offense charged as a: O Petty Offense
[1 Misdemeanor JO Minor Offense
b. Date of offense 1/28/06-2/5/06
c. County in which first offense occurred
Los Angeles

© Felony

 

d. The crimes charged are alleged to have been committed in:
CHECK ALL THAT APPLY

wf Los Angeles 0) Ventura
C] Orange (1 Santa Barbara
(J Riverside C1 San Luis Obispo

OO San Bernardino L] Other
Citation of offense 21 U.S.C. 846, 21 U.S.C. 841(a)(1),

(b)Q)B)

RELATED CASE

Has an indictment or information involving this defendant and

the same transaction or series of transactions been previously

filed and dismissed before trial? No Cl Yes
IF YES Case Number

 

Pursuant to Section 11 of General Order 224, criminal cases

may be related if a previously filed indictment or information

and the present case:

a. arise out of the same conspiracy, common scheme,
transaction, series of transactions or events; or

b. involve one or more defendants in common, and would
entail substantial duplication of labor in pretrial, trial or
sentencing proceedings if heard by difference judges.

Related case(s), if any: MUST MATCH NOTICE OF RELATED

CASE _N/A

 

 

PREVIOUSLY FILED COMPLAINT
A complaint was previously filed on: N/A
Case Number
Charging

 

 

 

The complaint: 0 is still pending
CO was dismissed on:

 

Defendant Number 4
Year of Birth _1981 Ste
Investigative agency (FBI, DEA, etc.) FBI CENT

TMT SEP 26 PM Gb?

 

ay

 

COMPLEX CASE
Are there 8 or more defendants in the Indictment/Information?
0 Yes* No

Will more than 12 days be required to present government’s
evidence in the case-in-chief?
DO Yes* MNo

* AN ORIGINAL AND 3 COPIES OF THE NOTICE OF COMPLEX
CASE MUST BE FILED 2 BUSINESS DAYS BEFORE THE
ARRAIGNMENT IF EITHER YES BOX IS CHECKED.

Superseding Indictment/Information

This is the superseding charge, i.e. 1%, 2".
The superseding case was previously filed on:

 

Case Number

 

The superseded case:
C is still pending before Judge/Magistrate Judge

 

C1 was previously dismissed on

Are there 8 or more defendants in the superseding case?
Oo Yes* CO No

Will more than 12 days be required to present government’s
evidence in the case-in-chief?
1 Yes* 11 No

Was a Notice of Complex Case filed on the Indictment or
Information?
HO Yes [1 No

* AN ORIGINAL AND 3 COPIES OF THE NOTICE OF COMPLEX
CASE MUST BE FILED 2 BUSINESS DAYS BEFORE THE
ARRAIGNMENT IF EITHER YES BOX IS CHECKED.

Is an interpreter required: LJ Yes No
IF YES, list language and/or dialect:

 

 

CR-72 (12/05)

CASE SUMMARY

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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CASE SUMMARY

 

 

 

 

 

OTHER CUSTODY STATUS

O Male Female . .
a a: . Defendant is not in custody:

USS. Citizen OO Alien . .
Alias N a. Date and time of arrest on complaint:

ias Name(s) b. Posted bond at complaint level on:

in the amount of $

This defendant is charged in: O All counts c. PSA supervision? 1 Yes C1 No
Mf Only counts: Lond 4 d. Is a Fugitive O Yes ONo
0 This defendant is designated as “High Risk” per e. Is on bail or release from another district:

18 USC 3146(a)(2) by the U.S. Attorney.
O This defendant is designated as “Special Case”

 

f. 0 Has not been arrested but will be notified by summons

 

 

 

 

 

 

 

 

 

to appear.
7).
per 18 USC 3166(b)(7) g. Warrant requested. Mf Yes ONo
Is defendant a juvenile? 1 Yes MNo
IF YES, should matter be sealed? (7 Yes ONo Defendant is in custody:
The area of substantive law that will be involved in this case a. Place of incarceration: State D Federal
includes: b. Name of Institution:
C financial institution fraud CI public corruption c. If Federal: U.S. Marshal's Registration Number:
XC government fraud [] tax offenses
ag environmental issues CO mail/wire fraud d. 0 Solely on this charge. Date and time of arrest:
narcotics offenses UO immigration offenses Ty
D1 violent crimes/firearms O corporate fraud e. On another conviction: LH Yes 0 No.
C Other: IF YES L State LX Federal CO Writ of Issue
_ , f. Awaiting trial on other charges: [1 Yes C1 No
IF YES L State 0 Federal AND
Name of Court:
Date transferred to federal custody:
This person/proceeding is transferred from another district
pursuant to F.R.CrP. 20 21 400
EXCLUDABLE TIME

Determinations as to excludable time prior to filing indictment/information EXPLAIN:

 

 

 

 

 

Date September 24, 2007 By, Yf LI HD

Signa Signature of Absistaht U U.S. Attorney

BONNIE L. HOBBS
Print Name

 

 

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